Case 3:18-cr-04683-GPC Document 521 Filed 10/05/22 Page
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

 

 

 

 
   
   
    

 

UNITED STATES DISTRICT Co
SOUTHERN DISTRICT OF CALIFORNIA |

+ | OCT 05 2022

CLERK U.S. DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

 

   

 

UNITED STATES OF AMERICA JUDGMENT IN AC DEPUTY
Vv. (For Offenses Committed On or After November 1, 1987)
MARK MANOOGIAN (2)

Case Number: 3:18-CR-04683-GPC

Randy Kk Jones, RET
Defendant’s Attomey

USM Number 80679-298

CT] -

THE DEFENDANT:

XJ pleaded guilty to count(s) One of the Superseding Information

L] was found guilty on count(s)

after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

Title and Section / Nature of Offense Count
18:1037(a}(5},(b)(3) - Electronic Mail Fraud 1
The defendant is sentenced as provided in pages 2 through 5 of this judgment.

The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

L] The defendant has been found not guilty on count(s)

 

Count(s) Underlying Indictment is dismissed on the motion of the United States.

Assessment ; $25.00 imposed.

[| JVTA Assessment*; $

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

See fine page L] Forfeiture pursuant to order filed , included herein.
IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

October 3, 2022

Date of Imposition of Sentence

CR iL

HON. GONZALO P. CURIEL ~
UNITED STATES DISTRICT JUDGE
Case 3:18-cr-04683-GPC Document 521 Filed 10/05/22 PagelD.7549 Page 2of5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: Mark Manoogian (2) . Judgment - Page 2 of 5
CASE NUMBER: 3:18-CR-04683-GPC

PROBATION

The defendant is hereby sentenced to probation for a term of:
One (1) year.

7.
8.
9.

10,

MANDATORY CONDITIONS
The defendant must not commit another federal, state or local crime.
The defendant must not unlawfully possess a controlled substance.
The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
L]The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
risk of future substance abuse. (check if applicable)
CiThe defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
a sentence of restitution. (check if applicable)
()The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
Ll The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
applicable)
“The defendant must participate in an approved program for domestic violence. (check if applicable)
The defendant must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
If this judgment imposes a fine, the defendant must pay in accordance with the Fine sheet of this judgment.
The defendant must notify the court of any material change in their economic circumstances that might affect their ability
to pay restitution, fines, or special assessmenis.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.

3:18-CR-04683-GPC
Case 3:18-cr-04683-GPC Document 521 Filed 10/05/22 PagelD.7550 Page 3of5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: Mark Manoogian (2) Judgment - Page 3 of §
CASE NUMBER: 3: 18-CR-04683-GPC

STANDARD CONDITIONS OF SUPERVISION

As part of the defendant’s probation, the defendant must comply with the following standard conditions of supervision.
These conditions are imposed because they establish the basic expectations for the defendant’s behavior while on
supervision and identify the minimum tools needed by probation officers to keep informed, report to the court about,
and bring about improvements in the defendant’s conduct and condition.

1, The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
hours of their release from imprisonment, uniess the probation officer instructs the defendant to report to a different probation
office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
view.

7, The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
change or expected change. ,

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
first getting the permission of the probation officer.
9. Ifthe defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.
10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
as nunchakus or tasers).

11, The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.

3:18-CR-04683-GPC
Case 3:18-cr-04683-GPC Document 521 Filed 10/05/22 PagelD.7551 Page 4of5
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: Mark Manoogian (2) Judgment - Page 4 of §
CASE NUMBER: 3:18-CR-04683-GPC

SPECIAL CONDITIONS OF SUPERVISION

1. Complete 100 hours of community service in a program approved by the probation officer.

The following conditions are in effect until such time as the imposed fine is paid in full:

2. Provide complete disclosure of personal and business financial records to the probation officer as
requested.

3. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly
or indirectly, including any interest obtained under any other name, or entity, including a trust, partnership
or corporation,

4. Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property
owned, directly or indirectly, including any interest held or owned under any other name, or entity,
including a trust, partnership or corporation.

5. Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines
of credit without approval of the probation officer.

HM

3:18-CR-04683-GPC
Case 3:18-cr-04683-GPC Document 521 Filed 10/05/22 PagelD.7552 Page 5of5
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: Mark Manoogian (2) Judgment - Page 5 of 5
CASE NUMBER: 3:18-CR-04683-GPC

FINE

The defendant shall pay a fine in the amount of $100,000.00 unto the United States of America.

 

Pay a fine in the amount of $100,000.00 through the Clerk, U. S. District Court. Payment of fine shall be
forthwith. Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States
Attomney’s Office of any change in the defendant’s mailing or residence address, no later than thirty (30) days
after the change occurs.

Hf

3:18-CR-04683-GPC
